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From: Richard Newman <rnewman@hopewellva.gov>
Sent: Friday, December 10, 2021 10:26 AM

To: Peter Eliades <petereliades@eliades-eliades.com>; David Whaley <whaley.mlw@verizon.net>; Lee Kilduff
<leekilduff@yahoo.com>

Cc: Pam Hartnett <phartnett1731@yahoo.com>; James B. Thorsen <jthorsen@thorsenallen.com>
Subject: Hardenberghs

Greetings:

Pursuant to our conversations, | have placed this matter on the Court’s Docket for January 6, 2022 at 9:00 a.m.
Prior to that date, the Hardenberghs are to have paid DCIS in full as to all of the amounts that have been
disbursed to Ms. Hartnett due to treatment received. Both should be enrolled in anger management classes.
They will be ordered by the Court to complete those classes. If both of these matters are done by that date | will
take a nolle prosequi of the charges. | have just been informed by the court administrator that Judge Balfour will
be substituting on the docket that day.

Rick Newman
